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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION



 JOHN DOE,

                        Plaintiff,

        v.                                            Civil Action 2:20-cv-4972
                                                      Judge Michael H. Watson
                                                      Magistrate Judge Chelsey M. Vascura
 KENYON COLLEGE,

                        Defendant.



                                           ORDER

       On December 3, 2021, the parties informed the Court that they have reached a settlement.

The parties are ORDERED to file a joint written REPORT detailing the status of this case ON

OR BEFORE JANUARY 3, 2022, unless they have filed a dismissal entry in accordance with

Federal Rule of Civil Procedure 41(a)(1)(A) in the interim. The Clerk is DIRECTED to

administratively close the case.



       IT IS SO ORDERED.

                                                   /s/ Chelsey M. Vascura
                                                   CHELSEY M. VASCURA
                                                   UNITED STATES MAGISTRATE JUDGE
